     Case 8:08-cr-00252-JSM-TBM Document 142 Filed 01/07/15 Page 1 of 2 PageID 476




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                  CASE NO: 8:08-cr-252-T-30TBM

ELUID ESCOBEDO, JR.


Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                 U.S.C. § 3582(c)(2) Based on USSG Amend. 782
        Before the Court is the Defendant’s Unopposed Motion for Prison-Term Reduction

under 18 U.S.C. § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment,

see USSG §1B1.10(d) (2014). Doc.# 140. The United States does not oppose a reduction. The

parties agree that he is eligible for a reduction because Amendment 782 reduces the guideline

range applicable to him, see USSG §1B1.10(a)(1). The Court agrees that he is eligible for a

reduction and adopts the amended guideline calculations indicated in said motion

        Having reviewed the facts in both the original presentence investigation report and the

November 20, 2014 memorandum from the United States Probation Office in light of the

factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

a reduction of 18 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of

the practical difficulties of a possible release date on Sunday, November 1, 2015, the effective

date of this order is November 2, 2015.
  Case 8:08-cr-00252-JSM-TBM Document 142 Filed 01/07/15 Page 2 of 2 PageID 477




       Therefore:

       (1)    The Court grants the defendant’s motion, Doc. #140.

       (2)    The Court reduces the defendant’s prison term from 110 to 92 months or time

              served, whichever is greater.

       (3)    The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on January 7, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
